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                                      Electronic Appearance Sheet

James Grogan
Paul Hastings LLP
Client(s): 360 Behavioral Health

Brett Lawrence
Paul Hastings LLP
Client(s): 360 Behavioral Health

Tad Davidson
Hunton Andrews Kurth LLP
Client(s): Ares Capital Corporation

Nacif Taousse
Latham & Watkins LLP
Client(s): Ares Capital Corporation

David Kupetz
Locke Lord LLP
Client(s): Pantogran LLC and Dr. Doreen Granpeesheh

Joseph Greenwood
Livingstone Partners
Client(s): Proposed Investment Banker to the Debtors

Allyson Smith
Kirkland & Ellis LLP
Client(s): Center for Autism and Related Disorders, LLC, et al.

Steven Shenker
Portage Point Partners
Client(s): Center for Autism and Related Disorders, LLC

Julie Parsons
McCreary Veselka Bragg & Allen PC
Client(s): Williamson County, Bell Co TAD, Hays County

Simon Mayer
Locke Lord LLP
Client(s): Pantogran LLC



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                                      Electronic Appearance Sheet

Sean Feener
Locke Lord LLP
Client(s): Pantogran LLC

Casey Roy
United States Department of Justice
Client(s): United States Trustee

Angela Tsai
Stretto
Client(s): Debtors Claims, Noticing and Solicitation Agent




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